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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
   ULTRAVISION TECHNOLOGIES, LLC,       )   Case No. 2:19-cv-00291-JRG-RSP
                                        )   (LEAD CASE)
                     Plaintiff,         )
                                        )   JURY TRIAL DEMANDED
         v.                             )
                                        )
   HOLOPHANE EUROPE LIMITED,            )
   ACUITY BRANDS LIGHTING DE            )
   MEXICO S DE RL DE CV, HOLOPHANE      )
   S.A. DE CV and ARIZONA (TIANJIN)     )
   ELECTRONICS PRODUCT TRADE CO.,       )
   LTD.,                                )
                                        )
                     Defendants.        )



                  PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S
              RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                   SUMMARY JUDGMENT OF NON-INFRINGEMENT
                        OF ASSERTED PATENTS (DKT. 128)
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          Plaintiff Ultravision Technologies, LLC (“Ultravision” or “Plaintiff”), by and through its

   undersigned counsel, respectfully submits this Response in Opposition to Defendants Holophane

   Europe Limited, Acuity Brands Lighting De Mexico S. de R.L. de C.V. (“Acuity Mexico”),

   Holophane, S.A. de C.V., and Arizona (Tianjin) Electronics Products Trade Co., Ltd.’s

   (collectively, “Defendants”) Sealed Motion for Summary Judgment of Non-Infringement of

   Asserted Patents (Dkt. 128) (the “Motion”).

   I.     INTRODUCTION

          Ultravision will use the evidence of record to prove at trial that Acuity Mexico sells the

   accused lighting fixtures to Acuity Brands Lighting, Inc. (“ABL”) in the United States, and further

   induces ABL to sell those products in the United States.




                                                          Rather than address Ultravision’s evidence,

   Defendants rely on Acuity Mexico’s status as a “maquiladora” to argue that its transfer of goods

   in exchange for payment are not “sales.”



                                             Defendants’ competing evidence merely demonstrates the

   existence of a genuine dispute of fact.

          Second, Defendants attempt to preclude Ultravision from arguing its inducement case by

   misleading the Court regarding their discovery requests without addressing the substance of

   Ultravision’s evidence. Contrary to Defendants’ mischaracterization, they never sought

   Ultravision’s grounds for indirect infringement during fact discovery.

          Accordingly, Defendants’ Motion should be denied in its entirety.
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   II.    COUNTERSTATEMENT OF THE ISSUES TO BE DECIDED BY THE COURT

          1.      Whether there is a genuine dispute of material fact as to whether Acuity Mexico

   sells the Accused Products to ABL in the United States.

          2.      Whether there was any requirement for Ultravision to provide Defendants with its

   grounds for indirect infringement in the absence of any discovery request.

          3.      Whether there is a genuine dispute of material fact as to whether Acuity Mexico

   induces ABL to sell the Accused Products to distributors or end users in the United States.

   III.   RESPONSE TO DEFENDANTS’ STATEMENT OF UNDISPUTED FACTS

          1.      Acuity is a United States-based parent company of the four overseas Defendants

   named in this case—Holophane Europe, Holophane Mexico, Arizona (Tianjin), and Acuity

   Mexico. Response: Undisputed.

          2.      Acuity supplies components to Acuity Mexico and Acuity Mexico assembles with

   the remaining Accused Products (Sign-Vue LED II, KAX, and RSX) in Mexico. Response:

   Disputed.




          3.      Acuity oversees, bears the risk of loss throughout the entire product-manufacturing

   lifecycle, and owns all components and finished goods throughout that lifecycle. Response:

   Disputed.




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          4.      Acuity takes physical possession of the Accused Products in Mexico and imports

   those products into the United States. Response: Disputed.




          5-10. Ultravision no longer asserts infringement by Defendants other than Acuity

   Mexico. These facts are therefore not material to this Motion.

          11.     Acuity Mexico is a Mexican corporation with its principal place of business in

   Guadalupe, Nuevo Leon, Mexico, and is a foreign subsidiary of Acuity. Response: Disputed.




          12.     Acuity Mexico operates under preferential tariff program established by the U.S.

   and Mexico as a maquiladora that manufactures and assembles Acuity lighting fixtures and poles

   in Mexico. Maquiladora status authorizes Acuity to import into Mexico, certain items, such as

   product components (sourced from various suppliers) for assembly into finished goods, so long as

   Acuity continues to owns such items throughout the product-manufacturing process and the items




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   are exported back out of Mexico within three years, including as assembled, finished goods.

   Response: Disputed.




         13.




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          18.




          19.     Acuity Mexico does not make, offer to sell, sell, or import any products (including

   the Accused Products) in the United States. Response: Disputed. Defendants attempt to cast

   disputed legal conclusions as undisputed facts. As discussed in greater detail below, a reasonable

   jury could find that Acuity Mexico sells, offers for sale, and/or imports the Accused Products in

   the United States.

          20.     Acuity Mexico does not import or export any materials or goods to the United

   States or pay for shipping of any materials or goods on the Mexican side of the border. Response:

   Disputed. As above, Defendants attempt to cast disputed legal conclusions as facts. As discussed

   in greater detail below, a reasonable jury could find that Acuity Mexico imports the Accused

   Products into the United States.

          21.     Acuity Mexico has never marketed in Texas, does not solicit business in Texas, and

   has not used any Texas-specific design, advertising, or marketing materials. Response: Disputed.




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   IV.   COUNTERSTATEMENT OF MATERIAL FACTS

          A.    Acuity Mexico Sells the Accused Products to ABL

         1.




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           B.     Sales of Accused Products from Acuity Mexico to ABL Occur in the United
                  States




           C.     Defendants Did Not Seek Discovery Regarding Ultravision’s Indirect
                  Infringement Allegations

          15.    Ultravision’s complaint plead indirect infringement, including inducement, by

   Acuity Mexico. Dkt. 1 at p. 7-9 (¶¶ 24-30), p.10-11(¶¶ 37-43), p. 13-14 (¶¶ 54-60) p.14-15; Dkt.

   22 [amended complaint] at 11-13, 15-17, 19-22.

          16.    Defendants did not seek any discovery on the grounds for Ultravision’s indirect

   infringement claims. Defendants’ interrogatories, including interrogatory nos. 5 and 13, did not


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   seek Ultravision’s contentions regarding indirect infringement. Exs. I and Ex. J [Defendants’ First

   Set of Interrogatories and Defendants’ Second Set of Interrogatories]. During correspondence

   regarding Ultravision’s interrogatory responses Defendants did not request any supplementation

   regarding Ultravision’s indirect infringement positions. Defendants 30(b)(6) deposition notice did

   not include any topics regarding indirect infringement. See Ex. K [objection to 30(b)(6) notice].

          17.     William Y. Hall, Ultravision’s CEO, does not have access to material designated

   RESTRICTED – ATTORNEYS’ EYES ONLY under the Protective Order. Dkt. 55 at 4-7.

          18.     Mr. Hall was produced for a 30(b)(6) deposition subject to Ultravision’s objection

   to the notice seeking “legal conclusions, information based on legal conclusions, or contentions

   through a Rule 30(b)(6) deposition.” Ex. K (objections to 30(b)(6) notice) at 3.




           D.      Acuity Mexico Induces Infringement by ABL




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   V.     LEGAL STANDARDS

           A.      Summary Judgment

          A movant for summary judgment must satisfy its heavy initial burden “either by

   providing evidence that negates an essential element of [Ultravision’s] case, or by showing that

   the evidence on file . . . establishes no material issue of fact and that [Ultravision] will not be

   able to prove an essential element of its case,” and must show that “the judgement is correct as a

   matter of law.” Vivid Techs, Inc. v. Am. Sci. & Eng’g., Inc., 200 F.3d 795, 807 (Fed. Cir. 1999)

   (citations omitted). “Summary judgment will not lie if the dispute about a material fact is

   ‘genuine,’ that is, if the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 242 (1986). In deciding

   whether a genuine issue of material fact exists, “[t]he evidence of the non-movant is to be

   believed, and all justifiable inferences are to be drawn in his favor.” Id. at 255.

           B.      Direct Infringement

                  An actor is liable for direct infringement if the actor “makes, uses, offers to sell,

   or sells any patented invention, within the United States or imports into the United States any

   patented invention.” 35 U.S.C. § 271(a).

          The location of a sale under § 271(a) is a legal conclusion based on factual

   determinations including the locations of contracting, performance, and underlying activities. N.

   Am. Philips Corp. v. Am. Vending Sales, Inc., 35 F.3d 1576, 1579 (Fed. Cir. 1994) (“[E]ven if we

   were to conclude that a ‘mechanical test’ might be appropriate here for some reason, appellee has


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   failed to explain why the criterion should be the place where legal title passes rather than the

   more familiar places of contracting and performance. . .”); MEMC Elec. Materials, Inc. v.

   Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1377 (Fed. Cir. 2005) (“[S]imply because an

   article is delivered ‘free on board’ outside of the forum, a ‘sale’ is not necessarily precluded from

   occurring in the forum.”). Where a product is delivered to a U.S. customer in the U.S., there is

   substantial evidence that the underlying sale occurs in the U.S. See Litecubes, LLC v. N. Light

   Prods., Inc., 523 F.3d 1353, 1370 (Fed. Cir. 2008) (“Since the American customers were in the

   United States when they contracted for the accused cubes, and the products were delivered

   directly to the United States, under North American Philips and MEMC there is substantial

   evidence to support the jury’s conclusion that GlowProducts sold the accused cubes within the

   United States.”); Semcon IP Inc. v. Kyocera Corp., Case. No. 2:18-cv-00197-JRG, 2019 WL

   1979930 at 2-3, (E.D. Tex., May 2019) (“Even assuming that “Kyocera . . . exports smartphones

   from Japan and then Kyocera International . . . imports those mobile phones into the United

   States and sells those smartphones to Kyocera International[’s] . . . customers” [] this Court need

   not accept Kyocera’s legal conclusion that Kyocera’s sale of or offer to sell smartphones to

   Kyocera International are not U.S. sales or offers to sell.”) (citations omitted).

           C.      Indirect Infringement

          “Whoever actively induces infringement of a patent shall be liable as an infringer.” 35

   U.S.C. § 271(b). “[I]nducement can be found where there is [e]vidence of active steps taken to

   encourage direct infringement.” Barry v. Medtronic, Inc., 914 F.3d 1310, 1334 (Fed. Cir. 2019)

   Induced infringement requires both knowledge of a patent, and knowledge that induced acts

   infringe. Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1925 (2015). However, specific

   intent may be inferred from circumstantial evidence. Ricoh Co., Ltd. v. Quanta Comput. Inc., 550

   F.3d 1325, 1342 (Fed. Cir. 2008) (citations omitted). Manufacture of allegedly accused products


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   with knowledge that they will be sold or operated by another in an allegedly infringing manner

   creates a credible question of fact as to induced infringement. L.C. Eldridge Sales Co., Ltd. v.

   Azen Mfg. Pte., Ltd., 6:11CV599, 2013 WL 7964028, at *2 (E.D. Tex. Nov. 14, 2013) (“Jurong’s

   corporate representative testified that Jurong knows where the rigs it builds will operate. And in

   Jurong’s Dolphin Magazine, it stated that the Accused Rigs would operate in the Gulf of Mexico.

   Therefore, a credible question of fact exists as to whether Jurong induced infringement under the

   Patent Act.”).

   VI.       ARGUMENT

             A.      Acuity Mexico Directly Infringes the Asserted Patents

                    1.     Acuity Mexico Sells Accused Products to ABL

             Defendants cannot meet their burden for summary judgment because there is a genuine

   dispute of material fact as to whether Acuity Mexico sells the Accused Products to ABL.




                                              Accordingly, there is substantial evidence that Acuity

   Mexico sells the Accused Products to ABL, precluding summary judgment. Anderson, 106 S. Ct.

   at 248.




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          Rather than addressing Ultravision’s evidence, Defendants apparently assume that Acuity

   Mexico cannot sell a product because it is a “maquiladora.” Mot. at 10-12. Defendants’ argument

   fails on multiple grounds.

          First, Acuity Mexico’s position is directly contrary to the declaration from its own Vice

   President of Operations



          Second, Acuity Mexico’s transfer of finished products to ABL includes a transfer of

   ownership in exchange for a price and is therefore a sale.




                A reasonable jury could therefore find that Acuity Mexico owns the products it

   sells to ABL. Given that Acuity Mexico relies solely on Ms. Lane’s statements for the

   proposition that ABL owns the Accused Products during their manufacture, a reasonable jury




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   could also disbelieve that testimony based on Ms. Lane’s misrepresentation. See Mot. at Section

   V.A. No. 4, and Section V.E. Nos. 12 and 17 (relying solely on Ms. Lane’s testimony, and

   irrelevant paragraphs of her declaration).

          Finally, Defendants offer no support for their assumption that maquiladoras, as a general

   matter, do not “sell” or transfer title to goods that they exchange for a price. Even if Acuity

   Mexico did follow Maquiladora regulations, Defendants fail to show that “ownership” under the

   preferential tariff program equates to title as a matter of law. In any case, “sale” under 271(a)

   does not necessarily require transfer of title. See NTP, 418 F.3d at 1319.

          Thus, there is a genuine dispute of material fact over whether Acuity Mexico sells the

   Accused Products to ABL.

                  2.      The Sales of Accused Products Occur in the United States

          Defendants further fail to meet their burden because there is a genuine dispute over whether

   sales of the Accused Products occur in the United States.

          Acuity Mexico’s sales occur in the United States because ordering and delivery, among

   other underlying activities, occur in the United States. See Litecubes, LLC, 523 F.3d at 1370

   (“Since the American customers were in the United States when they contracted for the accused

   cubes, and the products were delivered directly to the United States, under North American

   Philips and MEMC there is substantial evidence to support the jury’s conclusion that

   GlowProducts sold the accused cubes within the United States.”)




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                                                                                       Thus, there is a

   genuine dispute of material fact over whether Acuity Mexico’s sales of the Accused Products occur

   in the United States.

          Ultravision further contends that Acuity Mexico and ABL are alter-egos of one another, as

   argued in the context of personal jurisdiction at Dkts. 35, 41, 122, and 140. Accordingly, a further

   genuine dispute of material fact exists based on sales to end users in the United States which are

   attributable to Acuity Mexico.

          Accordingly, because a reasonable jury drawing inferences in Ultravision’s favor could

   find that Acuity Mexico sells the Accused Products to ABL in the United States, Defendants have

   failed to meet their burden for summary judgment.

              B.   Acuity Mexico Induces Infringement by ABL

          Ultravision’s induced infringement allegations are supported by substantial evidence such

   that Defendants are precluded from summary judgment because Acuity Mexico has been aware

   of the Asserted Patents since the filing of the complaint, and has encouraged ABL to sell the

   Accused Products in the United States while knowing that those products infringe the Asserted

   Patents.

          First, Acuity Mexico has undisputedly been aware of the asserted patents, and of

   Ultravision’s infringement allegations at least since the filing of the complaint on August 26,

   2019. See Dkt. 1; Ex. L [Defendants Rog Responses at 9-12].




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                     Accordingly, as in L.C. Eldridge, a reasonable jury could infer that Acuity

   Mexico specifically intends for ABL to sell the Accused Products which it knows to practice the

   Asserted Patents in the United States. See L.C. Eldridge Sales Co. v. Azen Mfg. Pte., Ltd.,

   6:11CV599, 2013 WL 7964028, at *2 (E.D. Tex. Nov. 14, 2013 (denying summary judgment of

   no induced infringement based on the title transfer of the accused products occurring in

   Singapore because “Jurong’s corporate representative testified that Jurong knows where the rigs

   it builds will operate. And in Jurong’s Dolphin Magazine, it stated that the Accused Rigs would

   operate in the Gulf of Mexico. Therefore, a credible question of fact exists as to whether Jurong

   induced infringement under the Patent Act.”). Thus, Defendants cannot meet their burden on

   summary judgment.

          Defendants incorrectly allege that Ultravision has “waived” its claims of indirect

   infringement. Defendants’ argument relies on the mischaracterization that Ultravision somehow

   failed to provide discovery regarding its indirect infringement claims. In reality, Defendants

   never sought discovery regarding Ultravision’s indirect infringement claims. See supra, Section

   IV.C. Defendants acknowledged that Ultravision’s complaint plead induced infringement by

   Acuity Mexico. See Fenner Invs., Ltd. v. Hewlett-Packard Co., CIV.A. 6:08-CV-273, 2010 WL

   786606, at *2 (E.D. Tex. Feb. 26, 2010) (holding a plaintiff may “provide[] sufficient notice of

   its inducement claims” in its complaint, by identification of evidence, or through discovery

   responses.”) Yet they never submitted an interrogatory or deposition topic regarding induced

   infringement, nor did they ever seek discovery of Ultravision’s theories informally. Nor is

   Ultravision precluded from pursuing induced infringement by the testimony of its technical

   expert or of Bill Hall, its CEO. Mr. Hall was not designated for any topic pertaining to indirect

   infringement, and in any case, is prohibited from viewing evidence designated as Restricted




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   under the Protective Order. Nor was Mr. Hall even questioned regarding Ultravision’s

   contentions regarding induced infringement.




                                     Defendants provide no support for the proposition that any

   testimony of either witness is preclusive. Because record evidence shows that Ultravision’s

   properly pled allegations of inducement are correct, summary judgment should be denied.

          Accordingly, Defendants’ summary judgment motion should further be denied because a

   genuine dispute of material fact remains regarding Acuity Mexico’s inducement of ABL to

   infringe in the United States.

   VII.   CONCLUSION

          Defendants’ Sealed Motion for Summary Judgment of Non-Infringement of Asserted

   Patents (Dkt. 128) should be denied in its entirety.

   Dated: December 14, 2020                      Respectfully submitted

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 14, 2020, a true and correct copy of the above and

   foregoing document has been served by email on all counsel of record.


                                                      /s/ Alfred R. Fabricant
                                                         Alfred R. Fabricant
